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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

THE LIVERPOOL FOOTBALL CLUB AND
ATHLETIC GROUNDS LIMITED,                               Case No. 24-cv-01908

                           Plaintiff,

          v.

THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”
                           Defendants.


                                            COMPLAINT

          Plaintiff, The Liverpool Football Club and Athletic Grounds Limited (“LFC” or

“Plaintiff”), hereby brings the present action against the Partnerships and Unincorporated

Associations identified on Schedule A attached hereto (collectively, “Defendants”) and alleges as

follows:

                                  I. JURISDICTION AND VENUE

          1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. § 1338(a)-(b)

and 28 U.S.C. § 1331.

          2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive, e-commerce stores1 operating under the seller aliases identified in



1
    The e-commerce store URLs are listed on Schedule A hereto under the Online Marketplaces.
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Schedule A attached hereto (the “Seller Aliases”). Specifically, Defendants have targeted sales to

Illinois residents by setting up and operating e-commerce stores that target United States

consumers using one or more Seller Aliases, offer shipping to the United States, including Illinois,

accept payment in U.S. dollars and/or funds from U.S. bank accounts and, on information and

belief, have sold products using infringing and counterfeit versions of Plaintiff’s federally

registered trademarks to residents of Illinois. Each of the Defendants is committing tortious acts

in Illinois, is engaging in interstate commerce, and has wrongfully caused Plaintiff substantial

injury in the State of Illinois.

                                      II. INTRODUCTION

        3.      This action has been filed by Plaintiff to combat e-commerce store operators who

trade upon Plaintiff’s reputation and goodwill by offering for sale and/or selling unauthorized and

unlicensed products, including apparel and other products, using infringing and counterfeit

versions of Plaintiff’s federally registered trademarks (the “Counterfeit Products”). Plaintiff LFC

is a professional football club participating in the English Premier League (“EPL” or “Premier

League”) which is the top level of the English football league system. In collaboration with

Premier League, Plaintiff has established a program of trademark protection and enforcement.

Premier League and Plaintiff regularly investigates suspicious e-commerce stores and enforce their

trademark rights to prevent the sale of Counterfeit Products.

        4.      Defendants create e-commerce stores operating under one or more Seller Aliases

that are advertising, offering for sale, and selling Counterfeit Products to unknowing consumers.

E-commerce stores operating under the Seller Aliases share unique identifiers establishing a

logical relationship between them and that Defendants’ counterfeiting operation arises out of the

same transaction, occurrence, or series of transactions or occurrences. Defendants attempt to avoid

and mitigate liability by operating under one or more Seller Aliases to conceal both their identities
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and the full scope and interworking of their counterfeiting operation. Plaintiff is forced to file this

action to combat Defendants’ counterfeiting of its registered trademarks, as well as to protect

unknowing consumers from purchasing Counterfeit Products over the Internet. Plaintiff has been

and continues to be irreparably damaged through consumer confusion, dilution, and tarnishment

of its valuable trademarks as a result of Defendants’ actions and seek injunctive and monetary

relief.

                                        III. THE PARTIES

Plaintiff, The Liverpool Football Club and Athletic Grounds Limited

           5.    Plaintiff, The Liverpool Football Club and Athletic Grounds Limited (“LFC”), is a

professional football club based in Liverpool, England, that competes in the Premier League.

           6.    LFC is, in part, engaged in the business of producing, manufacturing, and

distributing throughout the world, including within this judicial district, premium athletic apparel,

accessories, and other products under federally registered trademarks. For generations, LFC has

been one of the undisputed leaders in the field of apparel and accessories, including those which

prominently display the famous, internationally recognized, and federally registered trademarks of

LFC (collectively, the “LFC Products”).

           7.    LFC Products have become enormously popular and even iconic, driven by the

brand’s arduous quality standards and innovative design. In 2019, the Liverpool Football Club

was ranked by Forbes magazine as the world's eighth-most-valuable football club, valued at $2.183

billion. Among the purchasing public, genuine LFC Products are instantly recognizable as such.

In the United States and around the world, the LFC brand has come to symbolize high quality and

LFC Products are among the most recognizable apparel and accessories in the world.




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       8.      LFC Products are distributed and sold to consumers through retailers throughout

the United States, including authorized retailers in Illinois such as DICK’s Sporting Goods and

other sporting goods stores, and through the official liverpoolfc.com website.

       9.      LFC incorporates a variety of distinctive marks in the design of its various LFC

Products. As a result of its long-standing use, LFC owns common law trademark rights in its LFC

trademarks. LFC has also registered its trademarks with the United States Patent and Trademark

Office. LFC Products typically include at least one of LFC’s registered trademarks. Often, several

LFC marks are displayed on a single LFC Product. LFC uses its trademarks in connection with

the marketing of its LFC Products, including the following marks which are collectively referred

to as the “LFC Trademarks.”

                Registration No.                 Trademark
                   6,816,910             LIVERPOOL FOOTBALL CLUB
                   6,762,837                   LIVERPOOL FC
                   6,756,305                        LFC
                   6,749,353             YOU'LL NEVER WALK ALONE
                   6,805,698                       YNWA
                   5,089,345                 THE NORMAL ONE




                   3,307,401




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        Registration No.               Trademark




           3,867,538




           4,169,888




           6,742,770




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                Registration No.                    Trademark




                   6,756,306




       10.     The above registrations for the LFC Trademarks are valid, subsisting, in full force

and effect, and many are incontestable pursuant to 15 U.S.C. § 1065. The LFC Trademarks have

been used exclusively and continuously by LFC and have never been abandoned. The registrations

for the LFC Trademarks constitute prima facie evidence of their validity and of LFC’s exclusive

right to use the LFC Trademarks pursuant to 15 U.S.C. § 1057(b). Attached hereto as Exhibit 1

are true and correct copies of the United States Registration Certificates for the LFC Trademarks

included in the above table.

       11.     The LFC Trademarks are exclusive to LFC and are displayed extensively on LFC

Products and in LFC’s marketing and promotional materials. Typically, one or more of the LFC

Trademarks are included on LFC Products. LFC Products have long been among the most popular

of their kind in the world and have been extensively promoted and advertised at great expense. In

fact, LFC has expended millions of dollars annually in advertising, promoting, and marketing

featuring the LFC Trademarks. LFC Products have also been the subject of extensive unsolicited

publicity resulting from their high-quality, innovative designs, and renown as desired items.

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Because of these and other factors, the LFC name and the LFC Trademarks have become famous

throughout the United States.

       12.     The LFC Trademarks are distinctive when applied to the LFC Products, signifying

to purchasers that the products come from LFC and are manufactured to LFC’s quality standards.

Whether LFC manufactures the products itself or licenses others to do so, LFC has ensured that

products bearing its trademarks are manufactured to the highest quality standards. The LFC

Trademarks have achieved tremendous fame and recognition which has only added to the inherent

distinctiveness of the marks. As such, the goodwill associated with the LFC Trademarks is of

incalculable and inestimable value to LFC.

       13.     For many years, LFC Products have been promoted and sold at the official

liverpoolfc.com website. Sales of LFC Products via the liverpoolfc.com website are significant.

The liverpoolfc.com website features proprietary content, images, and designs exclusive to LFC.

       14.     LFC’s innovative marketing and product designs have enabled LFC to achieve

widespread recognition and fame, making the LFC Trademarks some of the most well-known

marks in the industry. The widespread fame, outstanding reputation, and significant goodwill

associated with the LFC brand have made the LFC Trademarks valuable assets of LFC.

       15.     LFC has expended substantial time, money, and other resources in developing,

advertising, and otherwise promoting the LFC Trademarks. As a result, products bearing the LFC

Trademarks are widely recognized and exclusively associated by consumers, the public, and the

trade as being high-quality products sourced from LFC. LFC is a multi-million-dollar operation

and LFC Products have become among the most popular of their kind in the world.

The Defendants

       16.     Defendants are individuals and business entities of unknown makeup who own

and/or operate one or more of the e-commerce stores under at least the Seller Aliases identified on
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Schedule A and/or other seller aliases not yet known to Plaintiff. On information and belief,

Defendants reside and/or operate in the People’s Republic of China or other foreign jurisdictions

with lax trademark enforcement systems, or redistribute products from the same or similar sources

in those locations. Defendants have the capacity to be sued pursuant to Federal Rule of Civil

Procedure 17(b).

       17.     On information and belief, Defendants, either individually or jointly, operate one

or more e-commerce stores under the Seller Aliases listed in Schedule A attached hereto. Tactics

used by Defendants to conceal their identities and the full scope of their operation make it virtually

impossible for Plaintiff to learn Defendants’ true identities and the exact interworking of their

counterfeit network.    If Defendants provide additional credible information regarding their

identities, Plaintiff will take appropriate steps to amend the Complaint.

                        IV. DEFENDANTS’ UNLAWFUL CONDUCT

       18.      The success of the LFC brand has resulted in significant counterfeiting of the LFC

Trademarks. In recent years, Plaintiff has identified many fully interactive, e-commerce stores

offering Counterfeit Products on online marketplace platforms such as Amazon, eBay, AliExpress,

Alibaba, Wish.com, Walmart, Etsy, Temu, and DHgate, including the e-commerce stores

operating under the Seller Aliases. The Seller Aliases target consumers in this Judicial District

and throughout the United States. According to a U.S. Customs and Border Protection (CBP)

report, in 2021, CBP made over 27,000 seizures of goods with intellectual property rights (IPR)

violations totaling over $3.3 billion, an increase of $2.0 billion from 2020. Intellectual Property

Rights Seizure Statistics, Fiscal Year 2021, U.S. Customs and Border Protection (Exhibit 2). Of

the 27,000 in total IPR seizures, over 24,000 came through international mail and express courier

services (as opposed to containers), most of which originated from China and Hong Kong. Id.



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        19.    Third party service providers like those used by Defendants do not adequately

subject new sellers to verification and confirmation of their identities, allowing counterfeiters to

“routinely use false or inaccurate names and addresses when registering with these e-commerce

platforms.” Exhibit 3, Daniel C.K. Chow, Alibaba, Amazon, and Counterfeiting in the Age of the

Internet, 40 NW. J. INT’L L. & BUS. 157, 186 (2020); see also, report on “Combating Trafficking

in Counterfeit and Pirated Goods” prepared by the U.S. Department of Homeland Security’s Office

of Strategy, Policy, and Plans (Jan. 24, 2020) attached as Exhibit 4 and finding that on “at least

some e-commerce platforms, little identifying information is necessary for a counterfeiter to begin

selling” and recommending that “[s]ignificantly enhanced vetting of third-party sellers” is

necessary. Counterfeiters hedge against the risk of being caught and having their websites taken

down from an e-commerce platform by preemptively establishing multiple virtual store-

fronts. Exhibit 4 at p. 22. Since platforms generally do not require a seller on a third-party

marketplace to identify the underlying business entity, counterfeiters can have many different

profiles that can appear unrelated even though they are commonly owned and operated. Exhibit

4 at p. 39. Further, “E-commerce platforms create bureaucratic or technical hurdles in helping

brand owners to locate or identify sources of counterfeits and counterfeiters.” Exhibit 3 at 186-

187.

        20.    Defendants have targeted sales to Illinois residents by setting up and operating e-

commerce stores that target United States consumers using one or more Seller Aliases, offer

shipping to the United States, including Illinois, accept payment in U.S. dollars and/or funds from

U.S. bank accounts and, on information and belief, have sold Counterfeit Products to residents of

Illinois.

        21.    Defendants concurrently employ and benefit from substantially similar advertising

and marketing strategies. For example, Defendants facilitate sales by designing the e-commerce
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stores operating under the Seller Aliases so that they appear to unknowing consumers to be

authorized online retailers, outlet stores, or wholesalers. E-commerce stores operating under the

Seller Aliases appear sophisticated and accept payment in U.S. dollars and/or funds from U.S.

bank accounts via credit cards, Alipay, Amazon Pay, and/or PayPal. E-commerce stores operating

under the Seller Aliases often include content and images that make it very difficult for consumers

to distinguish such stores from an authorized retailer. Plaintiff has not licensed or authorized

Defendants to use any of the LFC Trademarks, and none of the Defendants are authorized retailers

of genuine LFC Products.

       22.     Many Defendants also deceive unknowing consumers by using the LFC

Trademarks without authorization within the content, text, and/or meta tags of their e-commerce

stores to attract various search engines crawling the Internet looking for websites relevant to

consumer searches for LFC Products. Other e-commerce stores operating under Seller Aliases

omit using the LFC Trademarks in the item title to evade enforcement efforts while using strategic

item titles and descriptions that will trigger their listings when consumers are searching for LFC

Products.

       23.     E-commerce store operators like Defendants commonly engage in fraudulent

conduct when registering the Seller Aliases by providing false, misleading, and/or incomplete

information to e-commerce platforms to prevent discovery of their true identities and the scope of

their e-commerce operation.

       24.     E-commerce store operators like Defendants regularly register or acquire new seller

aliases for the purpose of offering for sale and selling Counterfeit Products. Such seller alias

registration patterns are one of many common tactics used by e-commerce store operators like

Defendants to conceal their identities and the full scope and interworking of their counterfeiting

operation, and to avoid being shut down.
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        25.     Even though Defendants operate under multiple fictitious aliases, the e-commerce

stores operating under the Seller Aliases often share unique identifiers such as templates with

common design elements that intentionally omit any contact information or other information for

identifying Defendants or other Seller Aliases they operate or use. E-commerce stores operating

under the Seller Aliases include other notable common features such as use of the same registration

patterns, accepted payment methods, check-out methods, keywords, advertising tactics,

similarities in price and quantities, the same incorrect grammar and misspellings, and/or the use of

the same text and images. Additionally, Counterfeit Products for sale by the Seller Aliases bear

similar irregularities and indicia of being counterfeit to one another, suggesting that the Counterfeit

Products were manufactured by and come from a common source and that Defendants are

interrelated.

        26.     E-commerce store operators like Defendants are in constant communication with

each other and regularly participate in QQ.com chat rooms and through websites such as

sellerdefense.cn and kuajingvs.com regarding tactics for operating multiple accounts, evading

detection, pending litigation, and potential new lawsuits.

        27.     Counterfeiters such as Defendants typically operate under multiple seller aliases

and payment accounts so that they can continue operation despite Plaintiff’s enforcement. E-

commerce store operators like Defendants maintain off-shore bank accounts and regularly move

funds from their financial accounts to off-shore accounts outside the jurisdiction of this Court to

avoid payment of any monetary judgment awarded to Plaintiff. Indeed, analysis of financial

account transaction logs from previous similar cases indicates that off-shore counterfeiters

regularly move funds from U.S.-based financial accounts to off-shore accounts outside the

jurisdiction of this Court.



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       28.     Defendants are working in active concert to knowingly and willfully manufacture,

import, distribute, offer for sale, and sell Counterfeit Products in the same transaction, occurrence,

or series of transactions or occurrences. Defendants, without any authorization or license from

Plaintiff, have jointly and severally, knowingly and willfully used and continue to use the LFC

Trademarks in connection with the advertisement, distribution, offering for sale, and sale of

Counterfeit Products into the United States and Illinois over the Internet.

       29.     Defendants’ unauthorized use of the LFC Trademarks in connection with the

advertising, distribution, offering for sale, and sale of Counterfeit Products, including the sale of

Counterfeit Products into the United States, including Illinois, is likely to cause and has caused

confusion, mistake, and deception by and among consumers and is irreparably harming Plaintiff.

                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       30.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth in

the preceding paragraphs.

       31.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the federally registered LFC

Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. The LFC Trademarks are highly distinctive marks. Consumers have come to

expect the highest quality from LFC Products offered, sold, or marketed under the LFC

Trademarks.

       32.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and are

still selling, offering to sell, marketing, distributing, and advertising products using counterfeit

reproductions of the LFC Trademarks without Plaintiff’s permission.




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       33.     Plaintiff is the exclusive owner of the LFC Trademarks. Plaintiff’s United States

Registrations for the LFC Trademarks (Exhibit 1) are in full force and effect. On information and

belief, Defendants have knowledge of Plaintiff’s rights in the LFC Trademarks and are willfully

infringing and intentionally using counterfeits of the LFC Trademarks. Defendants’ willful,

intentional, and unauthorized use of the LFC Trademarks is likely to cause and is causing

confusion, mistake, and deception as to the origin and quality of the Counterfeit Products among

the general public.

       34.     Defendants’ activities constitute willful trademark infringement and counterfeiting

under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       35.     Plaintiff has no adequate remedy at law and, if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of the LFC

Trademarks.

       36.     The injuries and damages sustained by Plaintiff have been directly and proximately

caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offering to sell, and

sale of Counterfeit Products.

                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       37.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth in

the preceding paragraphs.

       38.     Defendants’ promotion, marketing, offering for sale, and sale of Counterfeit

Products has created and is creating a likelihood of confusion, mistake, and deception among the

general public as to the affiliation, connection, or association with Plaintiff, or the origin,

sponsorship, or approval of Defendants’ Counterfeit Products by Plaintiff.




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       39.      By using the LFC Trademarks in connection with the sale of Counterfeit Products,

Defendants create a false designation of origin and a misleading representation of fact as to the

origin and sponsorship of the Counterfeit Products.

       40.      Defendants’ false designation of origin and misrepresentation of fact as to the origin

and/or sponsorship of the Counterfeit Products to the general public involves the use of counterfeit

marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       41.      Plaintiff has no adequate remedy at law and, if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the associated goodwill of

Plaintiff’s brand.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

   and all persons acting for, with, by, through, under or in active concert with them be

   temporarily, preliminarily, and permanently enjoined and restrained from:

       a. using the LFC Trademarks or any reproductions, counterfeit copies, or colorable

             imitations thereof in any manner in connection with the distribution, marketing,

             advertising, offering for sale, or sale of any product that is not a genuine LFC Product

             or is not authorized by Plaintiff to be sold in connection with the LFC Trademarks;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

             LFC Product or any other product produced by Plaintiff, that is not Plaintiff’s or not

             produced under the authorization, control, or supervision of Plaintiff and approved by

             Plaintiff for sale under the LFC Trademarks;




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       c. committing any acts calculated to cause consumers to believe that Defendants’

           Counterfeit Products are those sold under the authorization, control, or supervision of

           Plaintiff, or are sponsored by, approved by, or otherwise connected with Plaintiff;

       d. further infringing the LFC Trademarks and damaging Plaintiff’s goodwill; and

       e. manufacturing, shipping, delivering, holding for sale, transferring, or otherwise

           moving, storing, distributing, returning, or otherwise disposing of, in any manner,

           products or inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff

           to be sold or offered for sale, and which bear any of Plaintiff’s trademarks, including

           the LFC Trademarks, or any reproductions, counterfeit copies, or colorable imitations

           thereof;

2) Entry of an Order that, upon Plaintiff’s request, those with notice of the injunction including,

   without limitation, any online marketplace platforms such as eBay, AliExpress, Alibaba,

   Amazon, Wish.com, Walmart, Etsy, Temu, and DHgate (collectively, the “Third Party

   Providers”) shall disable and cease displaying any advertisements used by or associated with

   Defendants in connection with the sale of counterfeit and infringing goods using the LFC

   Trademarks;

3) That Defendants account for and pay to Plaintiff all profits realized by Defendants by reason

   of Defendants’ unlawful acts herein alleged, and that the amount of damages for infringement

   of the LFC Trademarks be increased by a sum not exceeding three times the amount thereof as

   provided by 15 U.S.C. § 1117;

4) In the alternative, that Plaintiff be awarded statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of the

   LFC Trademarks;

5) That Plaintiff be awarded its reasonable attorneys’ fees and costs; and
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6) Award any and all other relief that this Court deems just and proper.

Dated this 6th day of March 2024.           Respectfully submitted,

                                             /s/ Justin R. Gaudio
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